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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                    )
          Plaintiff,                         )
                                             )
       v.                                    )       Docket No. 01-cr-10384-LTS
                                             )
GARY LEE SAMPSON,                            )
          Defendant.                         )


                              ASSENTED-TO
            MOTION TO UNSEAL SEALED PORTIONS OF TRANSCRIPTS

       Gary Lee Sampson, through undersigned counsel, moves to unseal currently sealed

portions of the transcripts of proceedings occurring on the dates.set out below. This request does

not include unsealing the private discussion portions of individual voir dire. The dates and

portions to be unsealed are:

       September 21, 2016 (transcript at docket entry 2528) with the exception of: page 6 line
              14 through page16; page 97 line 21 through page 106, line 16; page 137 line 17
             through page 158 line 17; page 211 line 3 through page 213 line 3; page 219 line
             21 through page 222 line 4; and page 234 line 16 through page 236 line 11,
             which should remain sealed.

       September 22, 2016 (transcript at docket entry 2529) with the exception of: page 6
             through Page 11; and page 102 through page 105 line 14, which should remain
             sealed.

       September 26, 2016 (transcript at docket entry 2541) with the exception of: page 4
             through page 8 line 15; page 3 through page 64 line 11; page 132; page 184 line 8
             through page 187; and page 193 through page 205, which should remain sealed.

       September 27, 2016 (transcript at docket entry 2542) with the exception of: page 3
             through page 10; page 99 line 18 through page 102; page 134 line 7 through page
             134 line 16; page 184 line 1 through page 184 line 3; and page 228 line 20
             through page 229, which should remain sealed.

       September 28, 2016 (transcript at docket entry 2543) with the exception of: page 6 line
             11 through page 18 line 7; page 25 lines 7 through 23; page 36 line 22 through
             page 38 line 22; page 45 line 23 through page 46; page 53 line 7 through page 57
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       line 16; page 72 lines 9 through 8; page 77 line 4 through page 78; page 184 line
       22 through page 189 line 12; page 198 line 8 through page 200 line 5; page 212
       line 18 through page 217 line 4; page 224 line 19 through page 225 line 20; and
       page 279 line 23 through page 282 line 6, which should remain sealed.

September 29, 2016 (transcript at docket entry 2545) with the exception of: page 3 line
      16 through page 22 line 11; page 80 line 25 through page 89; page 104 line 5
      through page 106 line 11; page 186 line 28 through page 287 line 15; page 210
      line 12 through page 212 line 11; and page 291 line 11 through page 295 line 14,
      which should remain sealed.

September 30, 2016 (transcript at docket entry 2547) with the exception of: page 5 line 3
      through page 10 line 13; page 84 line 5 through page 85 line 3; page 89 line 20
      through page 99 line 4; page 192 line 5 through line 18; and page 195 through
      page 211 which should remain sealed.

October 4, 2016 (transcript at docket entry 2570) with the exception of: page 4 through
      page 19 line 18; page 152 line 23 through page 155 line 15; page 157 line 13
      through page 161 line 23; page 166 line 9 through page 170 line 5; page 176 line
      21 through page 180 line 20; and page 242 line 19 through page 243, which
      should remain sealed.

October 5, 2016 (transcript at docket entry 2571) with the exception of: page 4 line 7
      through page 17 line 8; page 67 line 16 through page 68 line 21; page 105 line 14
      through page 106 line 17; and page 163 line 8 through line 18, which should
      remain sealed.

October 6, 2016 (transcript at docket entry 2572) with the exception of: page 3 through
      page 18; page 37 line 4 through page 39 line 2; page 72 line 16 through page 75
      line 7; page 110 line 15 through page 111 line 17; and page 186 line 23
      through page 189, which should remain sealed.

October 7, 2016 (transcript at docket entry 2573) with the exception of: page 9 line 7
      through page 10; page 36 line 3 through page 37 line 10; and page 189 line 16
      through page 190 line 22 which should remain sealed.

October 11, 2016 (transcript at docket entry 2574) with the exception of: page 3 through
      page 5; page 153 line 7 through page 162 line 21; and page 199 line 19 through
      page 205 line 2, which should remain sealed.

October 13, 2016 (transcript at docket entry 2575) with the exception of: page 4 through
      page 13 line 2; page 13 line 24 through page 15 line 20; page 18 line 5 through
      page 25; and page 114 line 5 through page 116 line 11, which should remain
      sealed.

October 14, 2016 (transcript at docket entry 2576) with the exception of: page 5 line 12

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                 through page 9 line 8; page 18 line 10 through page 21 line 13; page 131 line 15
                 through page 135 line 24; page 236 through page 238 line 5; page 243 line 20
                 through page 252 line 3; page 267 line 9 through 269 line 18; and page 278 line 9
                 through page 279 line 14, which should remain sealed.

          October 17, 2016 (transcript at docket entry 2656) with the exception of: page 3 through
                 page 13 line 3; page 105; page 254 line 6 through page 257 line 18; and page 292
                 line 10 through page 296 line 18, which should remain sealed.

          October 18, 2016 (transcript at docket entry 2657) with the exception of: page 3 through
                page 7 line 16; page 16 line 25 through page 17 line 2; and page 90 line 10
                through page 92 line 11, which should remain sealed.

          October 19, 2016 (transcript at docket entry 2658) 1 with the exception of: page 4 line 3
                through page 14 line 11; page 52 line 21 through page 53; page 100 line 18
                through line 25; page 111 line 12 through page 113; and page 261 line 20 through
                page 265 line 21, which should remain sealed.

          October 24, 2016 (transcript at docket entry 2659) with the exception of: page 9 line 14
                through page 11 line 22; page 85 line 5 through page 92 line 16; and page 155
                line 13 through page 156 line 12, which should remain sealed.

          October 25, 2016 (transcript at docket entry 2660) with the exception of: page 225 line 4
                through through page 226 line 24; page 233 line 15 through page 234 line 23;
                page 248 line 9 through page 249 line 8; and page 256 line 22 through page 257
                line 10, which should remain sealed.

          October 26, 2016 (transcript at docket entry 2661) with the exception of: page 4 through
                page 16 line 18; page 18 line 20 through page 38 line 18; page 59 line 12 through
                page 100 line 18; page 124 lines 15 through 17; page 132 line 3 through page 134
                line 12; page 161 line 12 through page 162 line 5; and page 207 line 17 through
                page 212 line 2, which should remain sealed.

          October 27, 2016 (transcript at docket entry 2662) 2 with the exception of: page 3 through
                page 52 line 3; page 96 through page 99 line 18; page 101 line 22 through page
                103 line 7; page 108 line 7 through page 109 line 2; and page 109 line 23 through
                page 110 line 5, which should remain sealed.

          October 28, 2016 (transcript at docket entry 2663) with the exception of: page 33 line 24
                through page 39 line 4; and page 149 lines 2 through 8, which should remain
                sealed.



1
    While the transcript is dated October 20, 2016 the proceedings occurred on October 19, 2016.
2
    While the transcript is dated October 28, 2016 the proceedings occurred on October 27, 2016.

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October 31, 2016 (transcript at docket entry 2756).

November 1, 2016 (transcript at docket entry 2757) with the exception of page 30 line 10
     through page 33 line 13 ,which should remain sealed.

November 2, 2016 (transcript at docket entry 2758) with the exception of page 10 line18
     through page 11 line 12 ,which should remain sealed.

November 3, 2016 (transcript at docket entry 2759).

November 4, 2016 (transcript at docket entry 2760).

November 7, 2016 (transcript at docket entry 2761) with the exception of page 235 line
     25 through page 239, which should remain sealed.

November 8, 2016 (transcript at docket entry 2762).

November 9, 2016 (transcript at docket entry 2763).

November 9, 2016 (transcript at docket entry 2765).

November 10, 2016 (transcript at docket entry 2764).

November 14, 2016 (transcript at docket entry 2861).

November 15, 2016 (transcript at docket entry 2862).

November 15, 2016 (transcript at docket entry 2863).

November 16, 2016 (transcript at docket entry 2864).

November 17 2016 (transcript at docket entry 2865) with the exception of page 144 line
     13 through page149, which should remain sealed.

November 17, 2016 (transcript at docket entry 2866).

November 18, 2016 (transcript at docket entry 2721).

November 21, 2016 (transcript at docket entry 2867).

November 22, 2016 (transcript at docket entry 2869).

November 22, 2016 (transcript at docket entry 2870) with the exception of page 3
     through page 4 line13, which should remain sealed.

November 28, 2016 (transcript at docket entry 2981).

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November 29, 2016 (transcript at docket entry 2880).

November 30, 2016 (transcript at docket entry 2881).

November 30, 2016 (transcript at docket entry 2882).

November 30, 2016 (transcript at docket entry 2883).

December 1, 2016 (transcript at docket entry 2884).

December 1, 2016 (transcript at docket entry 2885).

December 2, 2016 (transcript at docket entry 2886).

December 5, 2016 (transcript at docket entry 2887).

December 6, 2016 (transcript at docket entry 2888).

December 7, 2016 (transcript at docket entry 2889).

December 7, 2016 (transcript at docket entry 2890).

December 8, 2016 (transcript at docket entry 2891).

December 9, 2016 (transcript at docket entry 2892) with the exception of page 4 line 16,
     which should remain sealed.

December 12, 2016 (transcript at docket entry 2906) with the exception of page 27
     through page 29 line 7 which should remain sealed.

December 13, 2016 (transcript at docket entry 2908) with the exception of page 14 line
     24 through page 15 line 5, which should remain sealed.

December 14, 2016 (transcript at docket entry 2910).

December 15, 2016 (transcript at docket entry 2911).

December 16, 2016 (transcript at docket entry 2912).

December 19, 2016 (transcript at docket entry 2913).

December 20, 2016 (transcript at docket entry 2914).

December 22, 2016 (transcript at docket entry 2915) with the exception of page 21 lines
     3 and 4, which should remain sealed.

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        January 4, 2017 (transcript at docket entry 2951) with the exception of page 4 line 9
               through page 5 line 8; and page 41 line 14 through page 42 line 9 which should
               remain sealed.

        January 5, 2017 (transcript at docket entry 2952).

        January 6, 2017 (transcript at docket entry 2953).

        In support of this motion, undersigned counsel states the following:

        1. In its unsealing order dated May 24, 2017 this Court authorized motions to unseal

portions of transcripts remaining sealed if deemed appropriate. The portions of the proceedings

appellant seeks to unseal are relevant to issues to be raised in his opening brief to be filed in the

First Circuit on January 11, 2021. The unsealing requested will allow appellate counsel for Mr.

Sampson to provide the Court of Appeals with a coherent brief, addendum and appendix.

        2. The private discussions during individual voir dire are not sought to be unsealed.

        3. The portions sought to be unsealed relate to decisions concerning juror selection and

discussions and hearings concerning evidentiary and other legal issues and scheduling matters

that arose during the trial.

        4. The need to seal proceedings during the trial to safeguard against the jury’s possible

exposure to potentially prejudicial information that would not be presented in court is no longer

necessary.

        5. At this time, the requirement of a public trial and First Amendment interest and

common law right of public access support the unsealing requested. See United States v.

Kravetz, 706 F.3d 47 (1st Cir. 2013).

        6. The government has been contacted and assents to the unsealing provided that all

personally identifying information of jurors or prospective jurors and responses designated to be




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private or sensitive are redacted or remain sealed. As set out above, sealed information in those

categories will remain sealed.

       WHEREFORE, defendant, through undersigned counsel, requests that this Court enter an

order granting the unsealing sought.

                                                      Respectfully submitted,
                                                      Gary Lee Sampson
                                                      By his attorney,

                                                      /s/ Judith H. Mizner
                                                      Judith H. Mizner
                                                      Assistant Federal Public Defender
                                                      Federal Public Defender Office
                                                      51 Sleeper Street, 5th Floor
                                                      Boston, MA 02210
                                                      Tel: 617-223-8061



                                  CERTIFICATE OF SERVICE

        I, Judith H. Mizner, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on December 21, 2020.

                                                      /s/ Judith H. Mizner
                                                      Judith H. Mizner




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